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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:07CR65
                      Plaintiff,                  )
                                                  )
       vs.                                        )             ORDER
                                                  )
LUIS TAPIA-ANTUNEZ,                               )
RICHARD VEGA and                                  )
PATRICIA VEGA,                                    )
                                                  )
                      Defendants.                 )


       This matter is before the court on the motion by the government to continue trial of
the above captioned matter (Filing No. 20). The government seeks to continue the trial of
this matter scheduled for April 30, 2007, in order to try all defendants together now that
defendant Richard Vega has been arrested and taken before a magistrate judge in the
District of Arizona. Richard Vega was released on various conditions with a scheduled
appearance in the District of Nebraska on May 11, 2007 at 3:00 p.m. for arraignment. The
delayed appearance is due to the observation that Richard Vega was wheel-chair bound
at his appearance in the District of Arizona and required additional time to travel to
Nebraska. Upon consideration, the motion will be granted.
       IT IS ORDERED:
       1.     The motion to continue the trial of this matter (Filing No. 20) is granted.
       2.     Trial of this matter is re-scheduled for June 26, 2007, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendants in a speedy trial. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §§ 3161
(h)(1)(G), (h)(8)(A) & (h)(7).
       DATED this 26th day of April, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
